       CASE 0:14-cv-04673-PJS-JSM Doc. 11 Filed 05/04/15 Page 1 of 12




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


                                            Court File No. 14-cv-4673 PJS/JSM
Catrice Lynch,
                    Plaintiff,              FIRST AMENDED COMPLAINT AND
                                                    JURY DEMAND
      v.
City of Minneapolis, Peter Carlson,
Christopher Steward, and Andrew
Braun,
                    Defendants.




                                  THE PARTIES

      1.    Plaintiff is an adult female who currently resides and has resided

in Minneapolis, Minnesota at all times relevant to this action.

      2.    Defendants Carlson, Steward, and Braun are adult males who at

all times relevant to the allegations set forth in this Complaint were acting

under the color of state law in their capacities as law enforcement officers

employed by the City of Minneapolis, Minnesota. Plaintiff is suing them in their

individual capacities.

      3.    Defendant City of Minneapolis is a political subdivision of the State

of Minnesota. Minneapolis employed Carlson, Steward, and Braun as police

officers at all times relevant to this action. Minneapolis is sued directly and

also, on all relevant claims, on the theories of respondeat superior or vicarious

liability and pursuant to Minn. Stat. § 466.02 for the unlawful conduct of

Officers Carlson, Steward, and Braun. Minneapolis is the political subdivision
         CASE 0:14-cv-04673-PJS-JSM Doc. 11 Filed 05/04/15 Page 2 of 12




charged with training and supervising law enforcement officers. Minneapolis

has established and implemented, or delegated the responsibility for

establishing and implementing policies, practices, procedures, and customs

used by law enforcement officers employed by Minneapolis regarding seizures

and the use of force. Minneapolis is therefore also being sued directly pursuant

to Monell v. Dept. of Soc. Svcs., 436 U.S. 658 (1978).

                          JURISDICTION AND VENUE

      4.     This is an action for monetary relief under 42 U.S.C. §§ 1983 and

1988 and federal and state common law. This Court has jurisdiction over this

matter pursuant to 28 U.S.C. §§ 1343(a)(3), 1331, and 1367. Venue is proper

in this district under 28 U.S.C. § 1391, as the acts and omissions giving rise to

this action occurred in this district, and, on information and belief, all

Defendants reside in this district.

                            GENERAL ALLEGATIONS

      5.     On September 26, 2014 at or around 6 PM, Minneapolis police

officers arrived in front of Plaintiff’s house in Minneapolis.

      6.     These officers included Defendants Carlson, Steward, and Braun.

      7.     The officers were there to investigate an allegation of domestic

abuse.

      8.     When the officers arrived, they spoke outside the house with the

alleged victim, S.S.

      9.     S.S. told the officers that the suspect was her father, R.S.

      10.    S.S. told the officers that R.S. was inside Plaintiff’s house.


                                         2
        CASE 0:14-cv-04673-PJS-JSM Doc. 11 Filed 05/04/15 Page 3 of 12




       11.   The officers, including Defendants Carlson and Steward, spoke

with Plaintiff Lynch outside her house.

       12.    Plaintiff told the officers that R.S. lives at her house with her.

       13.   Plaintiff then walked inside her house.

       14.   Defendants Carlson, Steward, and Braun walked to the front door

of Plaintiff’s house.

       15.   Defendant Steward knocked on the front door but received no

answer.

       16.   Defendant Steward knocked on the front door a second time.

       17.   R.S. came to the front door, but did not open it.

       18.   R.S. yelled through the door or window and requested the officers

to leave.

       19.   Officer Steward requested R.S. numerous times for R.S. to open

the door.

       20.   R.S. continued to request the officers to leave.

       21.   R.S. told the officers at least twice that he was not going to open

the door.

       22.   Defendant Braun then walked over to the door and yelled into it to

R.S.

       23.   Defendant Braun told R.S. to open the door.

       24.   R.S. told Defendant Braun that he was not going to open the door.

       25.   R.S. again requested the Defendants to leave.




                                          3
         CASE 0:14-cv-04673-PJS-JSM Doc. 11 Filed 05/04/15 Page 4 of 12




        26.   Defendants Carlson, Steward, and Braun stood outside the door to

Plaintiff’s house for several minutes in total trying to get R.S. to come to the

door.

        27.   After several minutes had passed, R.S. opened the door.

        28.   R.S. requested Defendants Carlson, Steward, and Braun to read

him his rights.

        29.   Defendant Steward then reached inside Plaintiff’s house and

grabbed R.S.’s arm.

        30.   R.S. pulled his arm away.

        31.   Defendant Braun then reached inside Plaintiff’s house and grabbed

R.S.’s arm.

        32.   Defendants Braun, Steward, and Carlson then fully entered

Plaintiff’s house.

        33.   Neither Plaintiff nor any other occupants of her house consented to

the officers entering her house.

        34.   When the officers entered Plaintiff’s house, they started beating up

R.S..

        35.   Plaintiff pulled out her mobile phone and told the officers that she

was going to record them beating up R.S.

        36.   In response to Plaintiff’s comment regarding recording the officers

beating up R.S., Defendant Steward grabbed her and rammed her headfirst

into her front door, then kicked her while she was down on the ground.

        37.   Defendant Steward continued to beat Plaintiff up.


                                          4
       CASE 0:14-cv-04673-PJS-JSM Doc. 11 Filed 05/04/15 Page 5 of 12




      38.      Defendant Steward punched and kicked Plaintiff repeatedly.

      39.      Defendant Steward put Plaintiff in handcuffs.

      40.      Defendant Steward kicked Plaintiff when she was prone on the

ground and in handcuffs.

      41.      Defendant Steward put Plaintiff in a police squad car and left her

there for up to 20 minutes.

      42.      The officers released Plaintiff.

      43.      Plaintiff did not do anything during this incident that would cause

a person to use force against her.

      44.      Plaintiff did not interfere with the officers at any time relevant to

this action.

      45.      Plaintiff did not resist arrest at any time relevant to this action.

      46.      Plaintiff was cooperative with the officers at all times relevant to

this action.

      47.      Defendants’ conduct caused Plaintiff to suffer injuries.

      48.      Plaintiff sought treatment for her physical injuries at the

emergency room later that evening.

      49.      Plaintiff’s health care providers diagnosed her as suffering from a

ligament sprain of her wrist and a traumatic hematoma of her wrist.

      50.      Minneapolis, through its counsel of record, consented in writing to

allow Plaintiff to file this amended Complaint.




                                            5
        CASE 0:14-cv-04673-PJS-JSM Doc. 11 Filed 05/04/15 Page 6 of 12




                           COUNT I
DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S.C. § 1983 AND
  THE FOURTH AND FOURTEENTH AMENDMENTS – FALSE ARREST,
UNLAWFUL SEIZURE, UNLAWFUL SEARCH, UNLAWFUL ENTRY, FAILURE
                          TO LEAVE

      51.    Plaintiff restates the allegations contained in the preceding

paragraphs as though fully incorporated herein.

      52.    Defendants proximately caused Plaintiff’s arrest.

      53.    Defendants proximately caused Plaintiff’s detention.

      54.    Defendants lacked a warrant authorizing them to arrest Plaintiff,

detain Plaintiff, or enter Plaintiff’s home.

      55.    Defendants lacked probable cause or reasonable suspicion to

arrest and detain Plaintiff.

      56.    Defendants lacked a reasonable belief of probable cause or

reasonable suspicion to arrest and detain Plaintiff.

      57.    Defendants were not otherwise authorized to arrest Plaintiff, detain

Plaintiff, or enter Plaintiff’s home.

      58.    No exigent circumstances existed that authorized Defendants to

continue to wait outside Plaintiff’s home after R.S. requested them to leave.

      59.    No exigent circumstances existed that authorized Defendants to

enter Plaintiff’s home.

      60.    Defendants were acting under color of state law at all times

discussed above.

      61.    Defendants’ actions and omissions caused Plaintiff to suffer a

violation of her Fourth Amendment rights.


                                          6
       CASE 0:14-cv-04673-PJS-JSM Doc. 11 Filed 05/04/15 Page 7 of 12




      62.    At the time of Plaintiff’s arrest, it was clearly established that it is

unconstitutional to authorize or execute an arrest or detention absent probable

cause or reasonable suspicion.

      63.    At the time of Plaintiff’s arrest, it was clearly established that it is

unconstitutional to authorize or execute a seizure inside a person’s home.1

      64.    At the time of the events giving rise to this action, it was clearly

established under the Constitution that when R.S. requested the officers to

leave the area outside of Plaintiff’s front door, they had a duty to leave.2

      65.    At the time of the events giving rise to this action, it was clearly

established under the Constitution that the officers had no right to enter

Plaintiff’s home when they did.3


1 Florida v. Jardines, 133 S. Ct. 1409, 1414 (2013) (“when it comes to the
Fourth Amendment, the home is first among equals. At the Amendment’s ‘core’
stands ‘the right of a man to retreat into his own home and there be free from
unreasonable governmental intrusion.’”) (citation omitted); Payton v. New York,
445 U.S. 573, 586 (1980) (“It is a basic principle of Fourth Amendment law that
searches and seizures inside a home without a warrant are presumptively
unreasonable.”) (internal quotation marks omitted); Guite v. Wright, 147 F.3d
747, 750 (8th Cir. 1998) (“It is clearly established that the Fourth Amendment
prohibits a warrantless entry into a suspect’s home to make a routine felony
arrest absent consent or exigent circumstances.”) (citation omitted).
2 Florida v. Jardines, 133 S. Ct. 1409, 1415 (2013) (“This implicit license
typically permits the visitor to approach the home by the front path, knock
promptly, wait briefly to be received, and then (absent invitation to linger
longer) leave. Complying with the terms of that traditional invitation does not
require fine-grained legal knowledge; it is generally managed without incident
by the Nation's Girl Scouts and trick-or-treaters.”).

3 Kirk v. Louisiana, 536 U.S. 635, 638 (2002) (“We held that because ‘the
Fourth Amendment has drawn a firm line at the entrance to the house ... [,
a]bsent exigent circumstances, that threshold may not reasonably be crossed
without a warrant.’”); U.S. v. Duchi, 906 F.2d 1278, 1282 (“a warrantless entry
into the home is per se unreasonable”).
                                          7
        CASE 0:14-cv-04673-PJS-JSM Doc. 11 Filed 05/04/15 Page 8 of 12




      66.    Plaintiff suffered harm and damages as a result of Defendants’

denial of her constitutional rights.

                           COUNT II
DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S.C. § 1983 AND
 THE FOURTH AND FOURTEENTH AMENDMENTS – EXCESSIVE FORCE

      67.    Plaintiff restates the allegations contained in the previous

paragraphs as if fully incorporated herein.

      68.    Defendant Steward used force against Plaintiff while effectuating a

seizure of her.

      69.    The amount of force that Steward used while seizing Plaintiff was

unreasonable under the circumstances.

      70.    Steward was acting under color of state law when he used

unreasonable force while seizing Plaintiff.

      71.    Steward’s actions and omissions caused Plaintiff to suffer a

violation of her Fourth Amendment rights.

      72.    At the time of the events giving rise to this action, it was clearly

established that it is unconstitutional to use unreasonable force, as Steward

used against Plaintiff, to effectuate a seizure.

      73.    The other officers witnessed that Steward use excessive force

against Plaintiff.




                                         8
       CASE 0:14-cv-04673-PJS-JSM Doc. 11 Filed 05/04/15 Page 9 of 12




      74.    The other officers had an affirmative duty to intervene on behalf of

Plaintiff, whose Fourth Amendment rights were being violated in their presence

by another law enforcement officer.4

      75.    The other officers failed to intervene on Plaintiff’s behalf.

      76.    Plaintiff suffered harm as a result of Defendants’ denial of her

constitutional rights.

                          COUNT III
DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S.C. § 1983 AND
          THE FIRST AND FOURTEENTH AMENDMENTS

      77.    Plaintiff restates the allegations contained in the previous

paragraphs as if fully incorporated herein.

      78.    Observing and recording public police activities, without interfering

with those duties, is a legitimate means of gathering information for public

dissemination and is therefore expressive conduct protected by the First

Amendment to the United States Constitution.

      79.    Defendants’ arrest of Plaintiff in absence of probable cause that

she had committed a crime constituted unlawful retaliation by public officials

for Plaintiff engaging in activity protected by the First Amendment to the U.S.

Constitution.

      80.    Defendants’ use of force against Plaintiff constituted unlawful

retaliation by public officials for Plaintiff engaging in activity protected by the

First Amendment to the U.S. Constitution.


4Webb v. Hiykel, 713 F.2d 405, 408 (8th Cir. 1983); Putman v. Gerloff, 639
F.2d 415, 423 (8th Cir. 1981).

                                          9
        CASE 0:14-cv-04673-PJS-JSM Doc. 11 Filed 05/04/15 Page 10 of 12




       81.   Defendant City of Minneapolis is responsible for the violation of

Plaintiff’s constitutional rights because the individual Defendants’ actions

resulted from the City’s custom, pattern, practice, or policy of allowing officers

to arrest individuals for their expressive conduct in videotaping or otherwise

recording police undertaking their official duties.

       82.   Plaintiff suffered harm as a result of Defendants’ denial of his

constitutional rights.

                                   COUNT IV
                       INFLICTION OF EMOTIONAL DISTRESS

       83.   Plaintiff restates the preceding paragraphs as though fully stated

herein.

       84.   By Defendants’ aforementioned wrongful conduct and/or failure to

act, Defendants engaged in a pattern of unlawful conduct that caused Plaintiff

to suffer severe emotional distress and trauma that no reasonable person could

be expected to endure.

       85.   The course of Defendants’ conduct was so extreme and outrageous

that it goes beyond all possible bounds of decency and is utterly intolerable in

a civilized society.

       86.   Defendants, by their extreme and outrageous conduct complained

of herein, intentionally and/or recklessly caused severe emotional distress to

Plaintiff.

       87.   Plaintiff has suffered injuries as a result of the severe emotional

distress caused by Defendants, in an amount to be proven at trial.



                                        10
      CASE 0:14-cv-04673-PJS-JSM Doc. 11 Filed 05/04/15 Page 11 of 12




                                    COUNT V
                                    BATTERY

      88.   Plaintiff restates the preceding paragraphs as though fully stated

herein.

      89.   Defendants harmfully touched Plaintiff.

      90.   Defendants’ actions were objectively unreasonable and actually

and proximately caused Plaintiff to suffer harm.

                                 JURY DEMAND

      91.   Plaintiff demands a jury trial.

                             REQUEST FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that the Court:

      1.    Enter judgment in Plaintiff’s favor on her claims against

            Defendants, the exact amount to be proven at trial;

      2.    Declare that Defendants’ conduct, as set forth above, violated 42

            U.S.C. § 1983;

      3.    Award Plaintiff damages to compensate her for the injuries she

            suffered as a result of Defendants’ unlawful conduct;

      4.    Award Plaintiff punitive damages with respect to her claims under

            federal law, the exact amount to be proven at trial;

      5.    Grant Plaintiff leave to amend the Complaint to include a claim for

            punitive damages, the exact amount to be proven at trial;

      6.    Award Plaintiff reasonable expenses incurred in this litigation,

            including attorney and expert fees, pursuant to 42 U.S.C. § 1988;

      7.    Grant Plaintiff all statutory relief to which she is entitled;
                                        11
     CASE 0:14-cv-04673-PJS-JSM Doc. 11 Filed 05/04/15 Page 12 of 12




     8.   Grant Plaintiff leave to amend this Complaint to supplement any

          factual deficiencies or otherwise address any pleading deficiencies

          herein; and

     9.   Grant any other relief the Court deems just and equitable.



Dated: May 4, 2015                         s/Joshua R. Williams
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                                    12
